AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                  Middle District
                                                __________        of of
                                                           District  Tennessee
                                                                        __________

                  United States of America                       )
                             v.                                  )
                                                                 )      Case No. 24-mj-2388
                     SKYLER PHILIPPI                             )
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
         On or about the date(s) of              November 2, 2024       in the county of                      Davidson   in the
        Middle         District of         Tennessee         , the defendant(s) violated:

            Code Section                                                   Offense Description
18 U.S.C. § 2332a(a)                          Attempting to use a weapon of mass destruction
18 U.S.C. § 1366                              Attempting to destroy an energy facility




          This criminal complaint is based on these facts:
Please see the attached statement in support of criminal complaint.




          ✔ Continued on the attached sheet.
          u

                                                                                              /s/ Angelo DeFeo
                                                                                            Complainant’s signature

                                                                                            FBI SA Angelo DeFeo
                                                                                             Printed name and title

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WHOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV 

Date:     November 4, 2024
                                                                                               Judge’s signature

City and state:                      Nashville, Tennesse                  Jeffery S. Frensley, United States Magistrate Judge
                                                                                             Printed name and title


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               STATEMENT IN SUPPORT OF A CRIMINAL COMPLAINT

       1.      Your affiant, Angelo DeFeo, is a Special Agent with the Federal Bureau of

Investigation (“FBI”) and is assigned to the Nashville Field Office. In my duties as a Special Agent,

I investigate domestic terrorism violations, international terrorism violations, and other violent

crimes. As a Special Agent, I am authorized by law and/or by the FBI to engage in or supervise

the prevention, detention, investigation, and prosecution of violations of Federal criminal laws.

       2.      I make this statement in support of a criminal complaint charging Skyler PHILIPPI

with attempting to use a weapon of mass destruction, in violation of Title 18, United States Code,

Section 2332a(a), and attempting to destroy an energy facility, in violation of Title 18, United

States Code, Section 1366. Specifically, I submit, as summarized below, that there is probable

cause to believe that PHILIPPI planned and took overt actions to affix an explosive device to an

unmanned aircraft system (UAS) and fly the UAS into an electric substation located in Nashville,

Tennessee, for the purpose of destroying the energy facility in furtherance of his accelerationist

ideology. Based on my training, experience, and this investigation, I know that accelerationism

refers to a white-supremacist belief that the existing state of society is irreparable and that the only

solution is the destruction and collapse of the “system.” Accelerationism is premised on the idea

that steps can be taken to speed up the collapse of the system, to wit: the destruction of the U.S.

power grid, among other acts of violence.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause and does not set forth all of my knowledge

about this matter.




                                                   1
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                                      PROBABLE CAUSE

                                           Background

       4.      In June 2024, the Federal Bureau of Investigation (“FBI”) received information that

PHILIPPI was living in or around Columbia, Tennessee. PHILIPPI was in communication with

Confidential Human Source (“CHS”) 1 regarding PHILIPPI’s desire to commit a mass shooting

at a YMCA facility located in or around Columbia, Tennessee. 1 Following PHILIPPI’s threat of

violence, CHS-1 introduced PHILIPPI to CHS-2, who was located physically closer to PHILIPPI

and able to meet in person with PHILIPPI. 2

       5.      Beginning on or about July 17, 2024, PHILIPPI and CHS-2 communicated via

telephone. The call was audio recorded. PHILIPPI also sent text messages to CHS-2, which

included statements about PHILIPPI’s accelerationist ideology: “Acceleration is a double edge

sword for those without knowledge.”

       6.      On or about July 17, 2024, PHILIPPI discussed the impact of attacking large

interstate electric substations and said that attacking 9 or more electric substations would “shock

the system,” causing other electric substations to malfunction. PHILIPPI also stated he was

conducting a “threat report” that addressed the following topics:

                   o “What is the power grid and when was it made”

                   o “Updates in technology and what they are”

                   o “Threat model and attack vectors”

                   o “Examples of past and theoretical attacks”



1
  CHS-1 is a reliable, paid confidential human source who has previously provided accurate
information to the FBI in multiple investigations.
2
  CHS-2 is a reliable, paid confidential human source who has previously provided accurate
information to the FBI in multiple investigations.

                                                2
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                    o “Implications and cause and effect of attacks”

                    o “Logistics of all of the above”

                    o “Conclusion”

        7.      On or about July 17, 2024, PHILIPPI texted CHS-2: “if you want to do the most

damage as an accelerationist, attack high economic, high tax, political zones in every major

metropolis.”

        8.      During a telephone call on or about July 17, 2024, PHILIPPI requested CHS-2’s

assistance in stealing a train de-railer for the purpose of derailing a train in the Middle District of

Tennessee. 3 While this call was not recorded, the FBI retained text messages between PHILIPPI

and CHS-2 where PHILIPPI sent CHS-2 a photo of a train de-railer and asked CHS-2 to steal a

train de-railer for him.

        9.      On or about August 7, 2024, CHS-2 introduced Undercover Employee (“UCE”) 1

to PHILIPPI. During the in-person meeting, which was audio recorded, PHILIPPI told UCE-1 that

he had written what he called a “manifesto” outlining his desire to attack “high tax cities or

industrial areas to let the kikes lose money.” PHILIPPI told UCE-1 about his previous affiliation




3
  A train de-railer is a device used to prevent fouling (blocking or compromising) of a rail track
(or collision with anything present on the track, such as a person, or a train) by unauthorized
movements of trains or unattended rolling stock. The device works by derailing the equipment as
it rolls over or through it. Although accidental derailment is damaging to equipment and track, and
requires considerable time and expense to remedy, train de-railers are used in situations where
there is a risk of greater damage to equipment, injury, or death if equipment is allowed to proceed
past the derail point.

                                                  3
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with Atomwaffen Division 4 and the National Alliance. 5 PHILIPPI also discussed attacking power

grids across the country, which PHILIPPI believed would lead to the collapse of the power grid in

the United States.

       10.       During this same conversation, on or about August 7, 2024, PHILIPPI told UCE-1

about previously getting into a shootout with an African American individual in Louisville,

Kentucky. He also told UCE-1 that the September 11, 2001, attacks on the United States were an

inside job organized by a Jewish person. And PHILIPPI again brought up the idea of attacking 9

power grids across the country to assist in accelerating the collapse of the U.S. power grid, which

he learned about in part from Terrorgram. 6

       11.       On or about September 11, 2024, PHILIPPI provided excerpts of his “manifesto”

to UCE-1, including the following statements:

           • “Militancy, and by this extension radical armed struggle is the only end to
       protecting and preserving our folk.”

           • “Accelerationism is a means to an end and should be used very
       strategically.”

             •   “The 88 precepts must not be deviated from.” 7

4
  The Atomwaffen Division (AWD) is a US-based racially or ethnically motivated violent
extremist (RMVE) group with cells in multiple states. The group’s targets have included racial
minorities, the Jewish community, the LGBTQ community, the U.S. Government, journalists, and
critical infrastructure. AWD reportedly has international ties and some members have traveled
abroad, likely to meet with like-minded individuals.
5
  National Alliance is a Neo-Nazi/White supremacist organization. The National Alliance calls for
the eradication of the Jewish people and other races, and it desires the creation of an all-white
homeland.
6
 The Terrorgram Collective is a loose network of Telegram broadcast channels and chat groups
used as an ideological hub to cooperatively and anonymously distribute RMVE materials online.
These materials are published by the Terrorgram Collective. This content is centered around the
concept of accelerationism. Consequently, these RMVEs solicit and promote violence to achieve
societal collapse.
7
  “88 Precepts” is a book written by David Lane while he was imprisoned for being a member of
a white supremacist group called The Order, which was responsible for the 1984 assassination of
                                                 4
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            • “We must create new to what we otherwise cannot take by force. The means
         and works of advanced society will be lost should we not preserve them, this is an
         important role as much as the preservation of our folk.”

            • “When the start of the end comes for the interconnected or otherwise
         globalized world, what will reflect and appeal [to] those seeking safety will be what
         Aryan warlords and Aryan tribes can offer, this is great but also dangerous at the
         same time.”

         12.     On or about September 14, 2024, PHILIPPI met with UCE-1 and UCE-2

(collectively the “UCEs”). The meeting was audio recorded. PHILIPPI explained to the UCEs that

if eight or more power stations were attacked, it would cripple the United States power supply.

PHILIPPI stated he studied previous power grid attacks conducted by accelerationists, including

two attacks in North Carolina and one attack in California, where the attackers used firearms.

Through his research, PHILIPPI concluded that attacking the electric substations with rifles would

not cripple the substations and would not cause widespread power outages.

         13.     PHILIPPI told the UCEs his plan to use a drone with explosives attached to it and

fly the drone into the electric substation. PHILIPPI said using a drone with explosives would be

more effective than shooting at the station with a rifle. PHILIPPI advised the UCEs that he

preferred to build a drone himself to avoid law enforcement detection, and he wanted to attach

TATP8 or C-4 explosive material to the drone. PHILIPPI told the UCEs that he would provide

them with a list of components needed to build the drone. PHILIPPI also explained that the drone

parts he needed the UCEs to purchase “would cost around $150,” or the UCEs “could 3D

print the [drone] body for pennies.”



Jewish radio host Alan Berg and other crimes. Lane was a prominent white supremacist who was
also famous for drafting the white nationalist slogan known as “Fourteen Words,” which states
“We must secure the existence of our people and a future for White children.”
8
    TATP, also known as Triacetone Triperoxide, is a high-energy explosive material.

                                                  5
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        14.    During the meeting on or about September 14, 2024, PHILLIPI told the UCEs about

other associates being “down with the cause”—referring to accelerationism. Specifically,

PHILIPPI explained that these other associates share PHILIPPI’s ideology.

        15.    In the same meeting with the UCEs, on or about September 14, 2024, PHILIPPI

showed the UCEs an open-source website showing the location of electric substations in the

Nashville area. PHILIPPI stated, “I definitely want to hit Nashville, like one hundred percent, I

want to get Nashville. I also know Louisville pretty god damn well, since I lived there. I spent

about five months scouting out every single place [power station] and even coming up with a game

plan to hit it as fast as I could. I had whole maps made, printed out on paper, to actually do that.”

        16.    On or about September 18, 2024, PHILIPPI sent UCE-1 a link to a YouTube video

depicting how one can build drones. Additionally, PHILIPPI texted UCE-1: “this has enough thrust

to carry what we need.” The YouTube video also contained a list of drone parts needed to assemble

the drone. PHILIPPI texted UCE-1 asking UCE-1 to use a particular encrypted chat application.

        17.    On or about September 28, 2024, the UCEs met with PHILIPPI. The meeting was

audio recorded. The UCEs provided PHILIPPI with the drone parts he previously requested from

them.

        18.    On or about September 28, 2024, PHILIPPI informed the UCEs that he had

conducted research on specific substations to target. PHILIPPI described targeting substations

located south and northwest of Nashville, which are part of Nashville’s economic and industrial

zones. PHILIPPI showed UCE-2 the locations of the substations on PHILIPPI’s phone and allowed

UCE-2 to take a picture of PHILIPPI’s phone showing the locations of the targeted substations.

        19.    During the same meeting, on or about September 28, 2024, PHILIPPI asked the

UCEs if they intended to surveil the targeted substation with him; the UCEs agreed to do so. The



                                                  6
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UCEs drove PHILIPPI to the substation. During the drive, the UCEs introduced PHILIPPI to UCE-

3 as an individual who could provide explosives. PHILIPPI talked with UCE-3 on the telephone.

The phone call was recorded. PHILIPPI understood UCE-3 could acquire explosive materials.

During the phone call, UCE-3 explained they could provide PHILIPPI with “poor man’s C-4.”

PHILIPPI asked UCE-3 questions about “Poor-Man’s C4,” such as whether the explosive material

was capable of cutting through three-quarter inch metal. PHILIPPI asked UCE-3 whether UCE-3

could provide one pound of the “poor man’s C-4.” UCE-3 agreed to provide the explosive

materials as ordered by PHILIPPI.

       20.     During the phone call on or about September 28, 2024, PHILIPPI and UCE-3 also

discussed making pipe bombs. UCE-3 said UCE-3 could not obtain black powder. PHILIPPI

offered to purchase the black powder and provide it to UCE-3.

       21.     After talking with UCE-3 by phone about the pipe bombs, on or about September

28, 2024, UCE-1 and UCE-2 were with PHILIPPI while he was conducting reconnaissance of

the substation. PHILIPPI briefed the UCEs on potential lookout locations, egress routes, and

camera locations. PHILIPPI discussed operational-security measures for the attack, including the

need to rent a car like a Prius so that they would blend into the residential neighborhood from

where they would launch the drone. PHILIPPI suggested the UCEs wear boot covers, cut off the

tread of any boots worn, or wear shoes one size larger than needed, to hinder any potential law

enforcement investigation. PHILIPPI told the UCEs to dress as if they were members of the

clergy and wear fake glasses on the night of the attack. He also told the UCEs to have masks and

leather gloves because latex and nitrile gloves can transfer fingerprints. PHILIPPI also told the

UCEs they should burn their clothes after the attack. PHILIPPI instructed the UCEs not to bring

their phones on the day of the operation.



                                                 7
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          22.   During the reconnaissance mission, PHILIPPI noted the location of specific

components within the electric substation that, if attacked, would cripple the substation for a

substantial period. PHILIPPI also said that the targeted components are flammable and its

“guaranteed to take everything down” and “destroy any evidence.”

          23.   During the reconnaissance mission, on or about September 28, 2024, PHILIPPI,

referring to the substation, stated, “Holy shit. This will go up like a fuckin fourth of July firework.”

          24.   On or about October 10, 2024, PHILIPPI sent an encrypted chat message to the

UCEs stating he had procured the black powder needed for making the pipe bombs, stating

“Powder acquired.”

          25.   On or about October 19, 2024, PHILIPPI met with UCE-1 and UCE-2. The meeting

was audio recorded. PHILIPPI and the UCEs discussed the upcoming operation. PHILIPPI told

the UCEs that they all should conduct the attack overnight on November 2-3, 2024.

          26.   On or about October 19, 2024, PHILIPPI outlined his plan for the attack. PHILIPPI

told the UCEs that all three individuals would meet at a hotel where they would participate in a

Nordic ritual. 9 PHILIPPI explained he had not previously participated in a Nordic ritual; the UCEs

told PHILIPPI they had previously participated in a Nordic ritual and offered to help set it up.

PHILIPPI told the UCEs that they would attach the explosives to the drone while at the hotel.

PHILIPPI then told the UCEs that they would all drive to the site of the operation and conduct the

attack.



9
  Based on my training and experience, I understand the Blót is a traditional Nordic ritual in which
believers exchange a sacrifice with the gods for something in return, such as good weather, fertility,
or luck in battle. I also understand that, in white supremacist/accelerationist ideology, individuals
will engage in the Blót ritual before conducting an attack or other operation to ask for assistance
from their gods.



                                                   8
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         27.   On or about October 19, 2024, PHILIPPI talked about the attack: “Try to blend in.

We’re not trying to talk to anyone. Set up at a location that’s hidden in the apartment complex

either behind a building or something. Get that fucker in the air, get her fucking going and then…”

PHILIPPI also stated it would take him about two minutes to get the drone operational and then

another three minutes to get the drone in the air and to the target. PHILIPPI informed the UCEs

that they would serve as his security during the attack.

         28.   On or about October 19, 2024, PHILIPPI talked about the need for a pickup truck,

rather than a Prius as previously contemplated by PHILIPPI. The UCEs asked PHILIPPI if he

would approve of an SUV instead of a pickup truck; PHILIPPI approved.

         29.   On or about October 19, 2024, PHILIPPI told the UCEs that the drone was almost

fully built. PHILIPPI and the UCEs also talked by phone with UCE-3. PHILIPPI initially requested

one pound of C-4 explosives; he told UCE-3 that he now wanted three pounds of C-4 explosives

and specifically stated the explosives needed to be able to penetrate sheet metal. PHILIPPI also

told UCE-3 that he needed an impact detonator so the explosives would detonate when the drone

crashed into the substation. PHILIPPI agreed to contribute $150 towards the purchase of the C-4

explosives.

         30.   PHILIPPI also provided the UCEs with the black powder that PHILIPPI purchased;

PHILIPPI instructed UCE-3 to build pipe bombs with the black powder. 10

         31.   PHILIPPI told the UCEs that they need to return to the hotel room after the attack,

where they would shower to get the powder off them. PHILIPPI also discussed getting rid of his

phone before the operation and told the UCEs of his plan to leave his laptop with another person



10
   The FBI sent the black powder to a forensic laboratory for testing. The powder was in a bag that
is marked with a specific manufacturer’s name and lot number.

                                                 9
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known to the FBI. 11 PHILIPPI stated he had “incredibly sensitive stuff” on his laptop, to include

“files on [his employer].” 12 PHILIPPI told the UCEs that all three individuals (PHILIPPI, UCE-1,

and UCE-2) would drive to Columbia, Tennessee, and hide out after the operation.

          32.       On or about October 30, 2024, PHILIPPI sent an encrypted chat message to the

UCEs outlining “Protocols” they would undertake the night of the attack, including:

                •   “Leave phones at hotel”

                •   “If you want photos, bring a DLSR or Polaroid”

                •   “No names or initials; use a made up call sign (will be discussed)”

                •   “Use a signal and countersignal if comms go down (will be discussed)”

                •   “Go to the bathroom before the OP and do not eat before the OP. Nerves can get

                    the better of someone so if someone puked, that’s evidence against us.”

                •   “Do a gear check before the OP and make sure everything is where you need it and

                    can easily access it”

          33.       On or about October 30, 2024, during the same encrypted chat, PHILIPPI stated

he wanted the UCEs to pick him up earlier in the afternoon and also texted that he was “gonna go

over a checklist of stuff real quick,” which included the following items he wanted the UCEs to

either bring or wear the night of the attack:

                •   “Thick gloves (no nitrile or latex, they do leave finger prints)”

                •   “Long sleeves”

                •   “Long pants”



11
     The FBI identified the third-party individual with whom PHILIPPI plans to leave his laptop.
12
  The FBI has identified the company where PHILIPPI works and believes he is referring to
possessing his employer’s intellectual property on his laptop.

                                                     10
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                •   “Shoes you can get rid of after the OP”

                •   “Handgun”

                •   “Holster”

                •   “Flashlight”

                •   “Baofeng radio” 13

                •   “Ear plugs”

                •   “Full headed mask”

          34.       On or about October 30, 2024, during the same encrypted chat, PHILIPPI stated he

will “have to give you guys a safety brief at the hotel on where to walk and what not to touch

because being in there while the power is still on is wicked dangerous.” Based on the context of

the conversation, PHILIPPI was referencing that he would describe to the UCEs where it would

be safe to walk as they approached the target area within the substation to detonate the explosive

charge.

          35.       On or about October 30, 2024, during the same encrypted chat, PHILIPPI stated he

planned on “keeping my phone at the hotel, but it’s gonna be my flip phone. I’m keeping my

smartphone far away from us.”

          36.       On or about October 30, 2024, during the same encrypted chat, PHILIPPI told the

UCEs that he was having trouble with the drone that PHILIPPI built from component parts. He

asked the UCEs, “[a]s for the drone, you guys mentioned you had another one on standby? Because

the last thing we need is zip ties for the PB so we can mount it on the drone.” Based on my training

and experience, as well as the context of the conversation, when PHILIPPI used the abbreviation

“PB,” he was referring to a pipe bomb.


13
     A Baofeng radio is a two-way radio.
                                                    11
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         37.    On or about October 31, 2024, PHILIPPI paid $150 via an online payment app to

UCE-1 to help cover the costs of the C-4 explosives.

         38.    On or about November 1, 2024, the UCEs informed PHILIPPI that, based on his

previous request to obtain a drone, they complied and obtained a drone that PHILIPPI could use

for the attack on the electric substation.

         39.    On or about November 2, 2024, in the early afternoon, the UCEs picked up

PHILIPPI from his residence. PHILIPPI was wearing a t-shirt with the words “Toten fur Wotan,”

which is German and translates generally to “death for Odin.” 14 When PHILIPPI entered the

vehicle, the UCEs told PHILIPPI that the bag next to him contained the explosives ordered by

PHILIPPI, which he planned to use in the attack. The bag also contained the inert pipe bombs

ordered by PHILIPPI (UCE-3 replaced the black powder purchased by PHILIPPI with an inert

substance so that the pipe bombs would not detonate).

         40.    On or about November 2, 2024, the UCEs asked PHILIPPI if he wanted to test fly

the drone. PHILIPPI instructed the UCEs to pull into an open area near Franklin, Tennessee, so

that PHILIPPI could test fly the drone and become familiar with how to operate the drone. See

Figure 1.




14
   PHILIPPI’s homemade shirt included the phrase “Death for Odin” or “Kill for Odin,” a phrase
used by some individuals who adhere to Neo-Nazi supremacist ideology in part because Adolf
Hitler had an interest in Pagan/Nordic traditions. Wotan is another name for the god Odin of Norse
mythology and Odin is the god of war and of the dead. In Norse mythology, Odin rules over
Valhalla— “the hall of the slain.” RMVE subjects adopt some aspects of the Pagan/Nordic
religion, specifically including traditions involving the need to die in battle so that the subjects can
reach Valhalla.
                                                  12
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                                              Figure 1

       41.     Following PHILIPPI’s test flight, PHILIPPI and the UCEs ate lunch and then

travelled to the hotel in Nashville. While driving to the hotel, the UCEs and PHILIPPI drove by

the site for the operation and discussed the plan for the attack. Once at the hotel, PHILIPPI and the

UCEs conducted a Nordic ritual that included PHILIPPI and the UCEs each reciting a Nordic

prayer and discussing the Norse god Odin. While in the hotel, a UCE asked PHILIPPI what this

night and attack meant to him, and PHILIPPI responded, “this is where the New Age begins.” The

UCEs also stated it would not change their relationship if PHILIPPI did not want to go through

with the attack. PHILIPPI responded that he was “fully committed” and that it was “time to do

something big” that would be remembered “in the annals of history.”

       42.     Following this conversation, PHILIPPI and the UCEs left the hotel and went to a

restaurant. While at the restaurant, PHILIPPI, who was carrying a handgun, indicated that if they

were confronted by law enforcement following the attack, he would shoot at law enforcement.



                                                 13
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       43.    PHILIPPI and the UCEs returned to the hotel and began preparing for the attack.

PHILIPPI took possession of the explosives, which included approximately three pounds of C-4

(PHILIPPI believed the C-4 to be active). PHILIPPI read the instructions provided by the

bombmaker on how to operate the explosive device. PHILIPPI tested the circuit that detonates the

device, inserted the blasting cap, and ensured the explosive device was ready to be deployed for

an attack. PHILIPPI told the UCEs that he “was comfortable” arming the explosives, and he would

continue to practice arming the explosives while they prepared for the attack. PHILIPPI told the

UCEs that he “would be the last one to leave the hotel room” to depart for the attack. Before

leaving the hotel, PHILLIPI and the UCEs took a picture with the explosive device and the pipe

bombs (Figure 2).




                                           Figure 2

       44.    On or about November 2, 2024, at approximately 8:18 p.m., PHILIPPI and the

UCEs left the hotel and reentered their vehicle. Before driving to the operation site, PHILIPPI

                                              14
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explained the plan again to the UCEs. PHILIPPI stated they all would drive to the launch site, arm

the drone, fly it to the designated location in the electric substation, detonate the device, return to

the hotel, shower to remove the explosive residue from their persons, and then leave the hotel

together.

       45.     PHILIPPI and the UCEs traveled to the operation site and exited the vehicle. The

UCEs moved to their assigned positions as security for PHILIPPI. PHILIPPI provided his firearm

to the UCEs to assist with their lookout while he armed the drone. While the UCEs moved to their

lookout sites, as instructed by PHILIPPI, he moved to the rear of the vehicle to prepare the drone

and explosive device.

       46.     Law-enforcement agents arrested PHILIPPI while he was preparing the drone and

the explosives from the back of the vehicle. When he was taken into custody, PHILIPPI was at the

rear of the vehicle, with the drone powered up, and the explosive device was armed and located

next to the drone. PHILIPPI was prepared to attach the explosives to the drone when he was

arrested.

       47.     PHILIPPI attempted to use a weapon of mass destruction to destroy an energy

facility that provides electricity to hundreds of businesses, thereby effecting interstate commerce.

                                          CONCLUSION

       48.     Based on the foregoing, I submit that there is probable cause to believe that on or

about November 2, 2024, Skyler PHILIPPI, violated Title 18 United States Code § 2332(a)

(attempted use of a weapon of mass destruction) and Title 18 United States Code § 1366 (attempted

destruction of an energy facility).




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